            Case 24-03056 Document 5 Filed in TXSB on 06/06/24 Page 1 of 3
                                                                                United States Bankruptcy Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                        June 04, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                          §
                                §                       CASE NO: 24-30885
JOANNA BURKE,                   §
                                §                       CHAPTER 13
      Debtor.                   §
                                §
JOANNA BURKE,                   §
                                §
      Plaintiff,                §
                                §
VS.                             §                       ADVERSARY NO. 24-3056
                                §
DEUTSCHE BANK NATIONAL TRUST §
COMPANY, PHH MORTGAGE           §
CORPORATION, AVT TITLE SERVICES §
LLC, AND DOES 1-10,             §
                                §
      Defendants.               §

                                         ORDER DISMISSING CASE

        This adversary proceeding was initiated on March 29, 2024 (ECF No. 1). On April 1, 2024,
the main bankruptcy case in this proceeding was dismissed. A bankruptcy court should generally
dismiss related proceedings after the bankruptcy case has been closed.1 As such, this adversary
will be dismissed.

           THEREFORE, IT IS ORDERED that Adversary Case No. 24-3056 is dismissed and
closed.

            SIGNED 06/04/2024


                                                     ___________________________________
                                                     Jeffrey Norman
                                                     United States Bankruptcy Judge




1
    In re Querner, 7 F.3d 1199 (5th Cir. 1993).
1/1
                         Case 24-03056 Document 5 Filed in TXSB on 06/06/24 Page 2 of 3
                                                                United States Bankruptcy Court
                                                                  Southern District of Texas
Burke,
      Plaintiff                                                                                                          Adv. Proc. No. 24-03056-jpn
Deutsche Bank National Trust Company,
      Defendant
                                                      CERTIFICATE OF NOTICE
District/off: 0541-4                                                    User: ADIuser                                                               Page 1 of 2
Date Rcvd: Jun 04, 2024                                                 Form ID: pdf111                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 06, 2024:
Recip ID                  Recipient Name and Address
pla                     + Joanna Burke, 46 Kingwood Greens Dr, Kingwood, TX 77339-5339

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
dft                              AVT Title Services LLC
dft                              Deutsche Bank National Trust Company
dft                              Does 1-10
dft                              PHH Mortgage Corporation

TOTAL: 4 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 06, 2024                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 4, 2024 at the address(es) listed below:
Name                                Email Address
Kathryn Nichole Dahlin
                                    on behalf of Creditor Deutsche Bank National Trust Company as Trustee for Residential Asset Securitization Trust 2007-A8
                                    Mortgage Pass-Through Certificates Series 2007-H Kathryn.Dahlin@tx.cslegal.com TX.bkpleadingsSOUTH@tx.cslegal.com

Mark Daniel Hopkins
                                    on behalf of Defendant PHH Mortgage Corporation mark@hopkinslawtexas.com shelley@hopkinslawtexas.com

Susan R. Fuertes
                                    on behalf of Creditor Harris County ATTN: Property Tax Division susan.fuertes@harriscountytx.gov,
                   Case 24-03056 Document 5 Filed in TXSB on 06/06/24 Page 3 of 3
District/off: 0541-4                                       User: ADIuser                     Page 2 of 2
Date Rcvd: Jun 04, 2024                                    Form ID: pdf111                  Total Noticed: 1
                          jo.falcon@harriscountytx.gov;vriana.portillo@harriscountytx.gov

Tiffany D Castro
                          ecf@ch13hou.com

US Trustee
                          USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 5
